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06                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
07                                    AT SEATTLE

08 UNITED STATES OF AMERICA,              )          CASE NO. CR05-0231-JCC
                                          )
09         Plaintiff,                     )
                                          )
10         v.                             )          SUMMARY REPORT OF U.S.
                                          )          MAGISTRATE JUDGE AS TO
11   ROBIN W. HUNDAHL,                    )          ALLEGED VIOLATIONS
                                          )          OF PROBATION
12         Defendant.                     )
     ____________________________________ )
13

14         An initial hearing on probation revocation in this case was scheduled before me on

15 February 22, 2007. The United States was represented by AUSA Todd Greenberg and the

16 defendant by Robert w. Goldsmith. The proceedings were digitally recorded.

17         Defendant had been sentenced on or about March 10, 2006 by the Honorable John C.

18 Coughenour on a charge of Misprision of a Felony, and sentenced to two years probation.

19         The conditions of probation included the standard conditions plus the requirements that

20 defendant submit to search, provide access to financial information, and not associate with any

21 known outlaw motorcycle gang members or wear the colors of any such gang. (Dkt.960 ).

22         In an application dated February 8, 2007 (Dkt. 1149 ), U.S. Probation Officer Donald E.

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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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01 Moon alleged the following violations of the conditions of probation:

02          1.     Associating with a Bandido Motorcycle Club member on January 30, 2007, in

03 violation of a special condition of probation.

04          2.     Failing to notify the probation office within 72 hours of being arrested or

05 questioned by law enforcement on January 20, 2007, in violation of standard condition number

06 11.

07          3.     Using methamphetamine on or about January 20, 2007, in violation of standard

08 condition number 7.

09          4.     Using methamphetamine on or about January 30, 2007, in violation of standard

10 condition number 7.

11          In a second application dated February 21, 2007, U.S. Probation Officer Donald E. Moon

12 alleged the following violations of the conditions of probation:

13          5.     Failing to submit to drug testing on February 14, 2007, in violation of a general

14 condition of probation.

15          6.     Associating with known outlaw motorcycle gang members, including Bandido

16 Motorcycle Club members, probationers, affiliates, or associates on or about January 20, 2007,

17 in violation of a special condition of probation.

18          Defendant was advised in full as to those charges and as to his constitutional rights.

19          Defendant admitted alleged violations 1, 3, 4, and 5 and waived any evidentiary hearing

20 as to whether they occurred. The government moved to dismiss violations 2 and 6.

21          I therefore recommend the Court find defendant violated his probation as alleged in

22 violations 1, 3, 4, and 5, that the Court dismiss violations 2 and 6, and that the Court conduct a

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01 hearing limited to the issue of disposition. The next hearing will be set before Judge Coughenour.

02          Pending a final determination by the Court, defendant has been detained.

03          DATED this 22nd day of February, 2007.



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05                                                Mary Alice Theiler
                                                  United States Magistrate Judge
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07
     cc:    District Judge:               Honorable John C. Coughenour
            AUSA:                         Todd Greenberg
08          Defendant’s attorney:         Robert W. Goldsmith
            Probation officer:            Donald E. Moon
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     TO ALLEGED VIOLATIONS OF SUPERVISED RELEASE
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